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                                                        Individual Estate Property Record and Report
                                                                         Asset Cases
Case Number:         18-07636 HAL                                                              Trustee: (330129)           Ira Bodenstein
Case Name:           ELECTRO-BRAND, INC.                                                       Filed (f) or Converted (c): 03/16/18 (f)
                                                                                               §341(a) Meeting Date:       04/26/18
Period Ending:       03/31/19                                                                  Claims Bar Date:            07/19/18

                                1                                          2                          3                          4                  5                    6

                       Asset Description                                Petition/             Estimated Net Value             Property         Sale/Funds           Asset Fully
            (Scheduled And Unscheduled (u) Property)                  Unscheduled        (Value Determined By Trustee,       Abandoned         Received by       Administered (FA)/
                                                                         Values             Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate        Gross Value of
Ref. #                                                                                          and Other Costs)                                                 Remaining Assets

 1       1127 S. Mannheim Road, Westchester, IL, 60154, L                        0.00                         0.00                                        0.00                  FA
           Orig. Asset Memo: Imported from original petition Doc#
         7
         No value to estate. Leased premises with back rent owed.

 2       7750 Industrial Drive Forest Park, IL 60130, Mon                        0.00                         0.00                                        0.00                  FA
           Orig. Asset Memo: Imported from original petition Doc#
         7
         No value to estate. Leased premises with back rent owed.

 3       Cash on hand                                                           29.00                        29.00                                       32.34                  FA
           Orig. Asset Memo: Imported from original petition Doc#
         7

 4       Checking Account at Schaumburg Bank & Trust Comp                      482.46                       482.46                                      482.46                  FA
           Orig. Asset Memo: Imported from original petition Doc#
         7

 5       Security Deposit 1127 S. Mannheim, Rd., Suite 30                  4,424.65                           0.00                                        0.00                  FA
           Orig. Asset Memo: Imported from original petition Doc#
         7
         No value because of back rent owed in excess of security
         deposit.

 6       Security Deposit - per BKD, LLP accounting firm,                        0.00                     Unknown                                         0.00                  FA
           Orig. Asset Memo: Imported from original petition Doc#
         7
         Under investigation

 7       Prepaid Insurance - Travelers insurance, general                  5,707.90                           0.00                                        0.00                  FA


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                                                        Individual Estate Property Record and Report
                                                                         Asset Cases
Case Number:         18-07636 HAL                                                            Trustee: (330129)           Ira Bodenstein
Case Name:           ELECTRO-BRAND, INC.                                                     Filed (f) or Converted (c): 03/16/18 (f)
                                                                                             §341(a) Meeting Date:       04/26/18
Period Ending:       03/31/19                                                                Claims Bar Date:            07/19/18

                                1                                          2                        3                          4                  5                    6

                       Asset Description                                Petition/           Estimated Net Value             Property         Sale/Funds          Asset Fully
            (Scheduled And Unscheduled (u) Property)                  Unscheduled      (Value Determined By Trustee,       Abandoned         Received by      Administered (FA)/
                                                                         Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate       Gross Value of
Ref. #                                                                                        and Other Costs)                                                Remaining Assets

           Orig. Asset Memo: Imported from original petition Doc#
         7
          No value to estate because of insurance premiums
         owed.

 8       Prepayment for renewal of Great Plains Software                   3,591.55                         0.00                                      0.00                    FA
           Orig. Asset Memo: Imported from original petition Doc#
         7
         No value to estate. Leased software.

 9       Trademarks: Electro-Brand Class 9 for television                      0.00                     Unknown                                       0.00                    FA
           Orig. Asset Memo: Imported from original petition Doc#
         7
         Value under investigation

10       Trademark: iTrak by Encore Class 9 for electroni                      0.00                     Unknown                                       0.00                    FA
           Orig. Asset Memo: Imported from original petition Doc#
         7
         Value under investigation

11       Trademark: Encore Class 9 for television sets, v                      0.00                     Unknown                                       0.00                    FA
           Orig. Asset Memo: Imported from original petition Doc#
         7
         Value under investigation

12       www.electrobrand-usa.com.                                             0.00                     Unknown                                       0.00                    FA
           Orig. Asset Memo: Imported from original petition Doc#
         7
         Value under investigation



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                                                         Individual Estate Property Record and Report
                                                                          Asset Cases
Case Number:         18-07636 HAL                                                              Trustee: (330129)           Ira Bodenstein
Case Name:           ELECTRO-BRAND, INC.                                                       Filed (f) or Converted (c): 03/16/18 (f)
                                                                                               §341(a) Meeting Date:       04/26/18
Period Ending:       03/31/19                                                                  Claims Bar Date:            07/19/18

                                1                                            2                        3                          4                  5                    6

                       Asset Description                                  Petition/           Estimated Net Value             Property         Sale/Funds           Asset Fully
            (Scheduled And Unscheduled (u) Property)                    Unscheduled      (Value Determined By Trustee,       Abandoned         Received by       Administered (FA)/
                                                                           Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate        Gross Value of
Ref. #                                                                                          and Other Costs)                                                 Remaining Assets

13       No asset listed                                                         0.00                          0.00                                       0.00                  FA
           Orig. Asset Memo: Imported from original petition Doc#
         7
         No asset listed.

14       Misc intangibles assets and intellectual propert                        0.00                     Unknown                                         0.00                  FA
           Orig. Asset Memo: Imported from original petition Doc#
         7

15       Mem-Ce., LLC, Breach of Contract. Amount Request                        0.00                     Unknown                                         0.00                  FA
           Orig. Asset Memo: Imported from original petition Doc#
         7
         Pending lawsuit under investigation.

16       A/R 90 days old or less. Face amount = $63,112.4                   63,112.40                     63,112.40                                35,716.94                    FA
           Orig. Asset Memo: Imported from original petition Doc#
         7

17       A/R Over 90 days old. Face amount = $4,972,732.6                4,972,732.66                     Unknown                                         0.00                  FA
           Orig. Asset Memo: Imported from original petition Doc#
         7
         This relates to lawsuit identified as asset # 15, which is
         under investigation.

18       Assorted Desks and Desk Chairs                                          0.00                     Unknown                                       215.00                  FA
           Orig. Asset Memo: Imported from original petition Doc#
         7
         Value under investigation

19       Assorted Cubicle Work Areas and Filing Cabinets                         0.00                     Unknown                                       260.00                  FA


                                                                                                                                               Printed: 04/25/2019 01:42 PM   V.14.50
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                                                        Individual Estate Property Record and Report
                                                                         Asset Cases
Case Number:         18-07636 HAL                                                            Trustee: (330129)           Ira Bodenstein
Case Name:           ELECTRO-BRAND, INC.                                                     Filed (f) or Converted (c): 03/16/18 (f)
                                                                                             §341(a) Meeting Date:       04/26/18
Period Ending:       03/31/19                                                                Claims Bar Date:            07/19/18

                                1                                          2                        3                          4                  5                    6

                       Asset Description                                Petition/           Estimated Net Value             Property         Sale/Funds          Asset Fully
            (Scheduled And Unscheduled (u) Property)                  Unscheduled      (Value Determined By Trustee,       Abandoned         Received by      Administered (FA)/
                                                                         Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate       Gross Value of
Ref. #                                                                                        and Other Costs)                                                Remaining Assets

           Orig. Asset Memo: Imported from original petition Doc#
         7
         Value under investigation.

20       Office Equipment and Display Samples/Electronic                       0.00                     Unknown                                   6,815.00                    FA
           Orig. Asset Memo: Imported from original petition Doc#
         7
         Schedule B question 41 attachment.
         Value under investigation.

21       Finished goods: See Exhibit to Question 21 attac               102,271.59                      Unknown                                       0.00                    FA
           Orig. Asset Memo: Imported from original petition Doc#
         7
         Located in warehouse.
         Value and ability to sell under investigation

22       Misc..                                                                0.00                         0.00                                      0.00                    FA
           Orig. Asset Memo: Imported from original petition Doc#
         7

23       Neopost postage meter.                                                0.00                         0.00                                      0.00                    FA
           Orig. Asset Memo: Imported from original petition Doc#
         7
         No value. Leased equipment.

24       Customer credit balances. See Exhibit to Questio                 78,704.64                     Unknown                                       0.00                    FA
           Orig. Asset Memo: Imported from original petition Doc#
         7
         Nature of claim and value under investigation



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                                                          Individual Estate Property Record and Report
                                                                           Asset Cases
Case Number:         18-07636 HAL                                                           Trustee: (330129)           Ira Bodenstein
Case Name:           ELECTRO-BRAND, INC.                                                    Filed (f) or Converted (c): 03/16/18 (f)
                                                                                            §341(a) Meeting Date:       04/26/18
Period Ending:       03/31/19                                                               Claims Bar Date:            07/19/18

                                1                                         2                        3                          4                  5                    6

                       Asset Description                               Petition/           Estimated Net Value             Property         Sale/Funds           Asset Fully
            (Scheduled And Unscheduled (u) Property)                 Unscheduled      (Value Determined By Trustee,       Abandoned         Received by       Administered (FA)/
                                                                        Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate        Gross Value of
Ref. #                                                                                       and Other Costs)                                                 Remaining Assets

25       Unscheduled Account Receivables (u)                             Unknown                           0.00                                      238.61                  FA

26       Sterling Construction Co. Stock 75 Shares (u)                   Unknown                           0.00                                      679.90                  FA

26       Assets          Totals (Excluding unknown values)           $5,231,056.85                  $63,623.86                                  $44,440.25                 $0.00


     Major Activities Affecting Case Closing:
              4/15/19 Assets liquidated. Review claims.
              3/31/2018- First meeting 4/26/2018

     Initial Projected Date Of Final Report (TFR): December 31, 2019                    Current Projected Date Of Final Report (TFR): December 31, 2019




                                                                                                                                            Printed: 04/25/2019 01:42 PM   V.14.50
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                                                             Cash Receipts And Disbursements Record
Case Number:         18-07636 HAL                                                                       Trustee:           Ira Bodenstein (330129)
Case Name:           ELECTRO-BRAND, INC.                                                                Bank Name:         Rabobank, N.A.
                                                                                                        Account:           ******1166 - Checking Account
Taxpayer ID #:       **-***4861                                                                         Blanket Bond:      $45,000,000.00 (per case limit)
Period Ending:       03/31/19                                                                           Separate Bond:     N/A

   1           2                             3                                        4                                          5                     6                     7
 Trans.     {Ref #} /                                                                                                         Receipts          Disbursements            Checking
  Date      Check #            Paid To / Received From                  Description of Transaction              T-Code           $                    $               Account Balance
03/26/18       {4}        Electro Brand Inc                    Debtor's turnover of funds to close account at   1129-000              482.46                                      482.46
                                                               Schaumburg Bank & Trust
03/30/18                  Rabobank, N.A.                       Bank and Technology Services Fee                 2600-000                                     10.00                472.46
04/16/18      {16}        Schaumburg Bank & Trust              Wire transfer of account receivable              1129-000         27,754.44                                   28,226.90
04/23/18      101         Total Insurance Services, inc.       Account # Elecbra-01                             2420-000                                   1,811.00          26,415.90
04/30/18                  Rabobank, N.A.                       Bank and Technology Services Fee                 2600-000                                     16.45           26,399.45
05/25/18      {25}        LCM Direct , Inc                     Collection of account receivable                 1221-000              238.61                                 26,638.06
05/31/18                  Rabobank, N.A.                       Bank and Technology Services Fee                 2600-000                                     41.79           26,596.27
06/12/18      {16}        Heartland America                    Collection of account receivable                 1129-000             7,962.50                                34,558.77
06/29/18                  Rabobank, N.A.                       Bank and Technology Services Fee                 2600-000                                     43.08           34,515.69
07/31/18                  Rabobank, N.A.                       Bank and Technology Services Fee                 2600-000                                     52.95           34,462.74
08/01/18      102         Trustee Insurance Agency             Insurance on inventory at Partners Fulfillment   2420-000                                    250.00           34,212.74
                                                               Invoice # 10638
08/31/18                  Rabobank, N.A.                       Bank and Technology Services Fee                 2600-000                                     50.93           34,161.81
09/28/18                  Rabobank, N.A.                       Bank and Technology Services Fee                 2600-000                                     26.20           34,135.61
10/24/18      103         Com Ed                               Account # 5831242020 per ct order dted           2420-000                                    283.65           33,851.96
                                                               9/20/18 Dkt # 22
10/29/18      104         Vanguard Archives                    Charge to shred records per Order dted           2410-000                                    379.00           33,472.96
                                                               9/20/18 Dkt # 22
10/31/18                  Rabobank, N.A.                       Bank and Technology Services Fee                 2600-000                                     30.84           33,442.12
11/27/18      105         Com Ed                               Account # 5831242020 per ct order dted           2420-000                                    132.60           33,309.52
                                                               9/20/18 Dkt # 22
12/10/18                  American Auction Associates, Inc     Gross Proceeds of Auction Sale Approved                               7,290.00                                40,599.52
                                                               9/20/2018;Dkt No. 22;Deposit Date 12/10/18
                                                               IB.
              {18}                                                                                   215.00     1129-000                                                     40,599.52
              {19}                                                                                   260.00     1129-000                                                     40,599.52

                                                                                                          Subtotals :            $43,728.01            $3,128.49
  {} Asset reference(s)                                                                                                                           Printed: 04/25/2019 01:42 PM    V.14.50
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                                                             Cash Receipts And Disbursements Record
Case Number:         18-07636 HAL                                                                       Trustee:         Ira Bodenstein (330129)
Case Name:           ELECTRO-BRAND, INC.                                                                Bank Name:       Rabobank, N.A.
                                                                                                        Account:         ******1166 - Checking Account
Taxpayer ID #:       **-***4861                                                                         Blanket Bond:    $45,000,000.00 (per case limit)
Period Ending:       03/31/19                                                                           Separate Bond:   N/A

   1           2                           3                                         4                                         5                   6                     7
 Trans.     {Ref #} /                                                                                                       Receipts        Disbursements            Checking
  Date      Check #            Paid To / Received From                  Description of Transaction            T-Code           $                  $               Account Balance
              {20}                                                                                6,815.00   1129-000                                                    40,599.52
12/10/18      106         American Auction Associates, Inc     Auctioneer expenses order entered 9/20/18 dkt 3620-000                                  2,700.00          37,899.52
                                                               # 22
12/28/18      107         Com Ed                               Account # 5831242020 per ct order dted        2420-000                                   117.74           37,781.78
                                                               9/20/18 Dkt # 22
01/02/19      {26}        Sterling Construction Company, Inc   Sale of 75 shares at 10.46 a share minus      1229-000              679.90                                38,461.68
                                                               processing fee of $104.60
01/03/19       {3}        Ira Bodenstein                       Liquidation of funds in Petty Cash box on     1129-000               32.34                                38,494.02
                                                               1/03/2019
01/11/19      108         Com Ed                               Account # 5831242020 per ct order dted        2420-000                                    37.21           38,456.81
                                                               9/20/18 Dkt # 22 Final Payment
02/20/19      109         International Sureties,Ltd           2019 Bond Premium                             2300-000                                    22.43           38,434.38
                                                                                ACCOUNT TOTALS                                  44,440.25              6,005.87         $38,434.38
                                                                                    Less: Bank Transfers                             0.00                  0.00
                                                                                Subtotal                                        44,440.25              6,005.87
                                                                                    Less: Payments to Debtors                                              0.00
                                                                                NET Receipts / Disbursements                   $44,440.25          $6,005.87




  {} Asset reference(s)                                                                                                                       Printed: 04/25/2019 01:42 PM    V.14.50
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                                                     Cash Receipts And Disbursements Record
Case Number:       18-07636 HAL                                                                  Trustee:         Ira Bodenstein (330129)
Case Name:         ELECTRO-BRAND, INC.                                                           Bank Name:       Rabobank, N.A.
                                                                                                 Account:         ******1166 - Checking Account
Taxpayer ID #:     **-***4861                                                                    Blanket Bond:    $45,000,000.00 (per case limit)
Period Ending:     03/31/19                                                                      Separate Bond:   N/A

  1           2                        3                                     4                                          5                   6                     7
Trans.     {Ref #} /                                                                                                 Receipts        Disbursements            Checking
 Date      Check #         Paid To / Received From                Description of Transaction           T-Code           $                  $               Account Balance

                            Net Receipts :         44,440.25
                                               ————————                                                                  Net              Net                   Account
                                Net Estate :      $44,440.25             TOTAL - ALL ACCOUNTS                          Receipts      Disbursements              Balances
                                                                         Checking # ******1166                           44,440.25              6,005.87          38,434.38

                                                                                                                        $44,440.25          $6,005.87            $38,434.38




 {} Asset reference(s)                                                                                                                 Printed: 04/25/2019 01:42 PM    V.14.50
